                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA

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                                    )
IN RE: NC SWINE FARM                ) Master Case No. 5:15-CV-13-BR
NUISANCE LITIGATION                 )
                                    )
____________________________________)

THIS DOCUMENT RELATES TO:

ALL CASES

     PLAINTIFFS’ NOTICE OF PARTIAL VOLUNTARY DISMISSAL WITHOUT
         PREJUDICE OF INJUNCTIVE AND EQUITABLE RELIEF CLAIM

       Plaintiffs, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby

dismiss, without prejudice, their claim for entry of injunctive and equitable relief (Count IV) in

their Amended Complaints against Defendant, Murphy-Brown, LLC, in these 26 coordinated

cases. (See list of cases at Exhibit A). Plaintiffs’ remaining claims, for damages, are not

dismissed by this notice.

       Dated this 23rd day of March, 2015.

                                              By:     s/Mona Lisa Wallace
                                                      Mona Lisa Wallace
                                                      NCSB #9021
                                                      John Hughes
                                                      NCSB #22126
                                                      Wallace & Graham, P.A.
                                                      525 North Main Street
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                               CERTIFICATE OF SERVICE

       I DO HEREBY CERTIFY that on the 23rd day of March, 2015, I filed a true and correct

copy of the above and foregoing NOTICE OF VOLUNTARY DISMISSAL with the Clerk of

Court using the CM/ECF system, which will send notification of such filing (NEF) to all

CM/ECF registered attorneys indicated on the NEF, including counsel for Defendant.



                                            By:    s/Mona Lisa Wallace
                                                   Mona Lisa Wallace
                                                   NCSB #9021




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EXHIBIT A – LIST OF COORDINATED CASES

  1. Webb, et al. v. Murphy-Brown, LLC, No. 4:14-cv-00152
  2. McMillon, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00181
  3. McGowan, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00182
  4. Gillis, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00185
  5. Anderson, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00183
  6. Farrior, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00184
  7. McKiver, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00180
  8. Collier, et al. v. Murphy-Brown, LLC, No. 2:14-cv-00056
  9. Herring, E., et al. v. Murphy-Brown, LLC, No. 7:14-cv-00199
  10. Branch, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00200
  11. Lisane, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00201
  12. Miller v. Murphy-Brown, LLC, No. 7:14-cv-00217
  13. Barton, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00218
  14. Blanks, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00219
  15. Baker, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00227
  16. Fullwood, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00228
  17. Faison, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00229
  18. Blow, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00232
  19. Herring, C., et al. v. Murphy-Brown, LLC, No. 7:14-cv-00233
  20. Humphrey, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00234
  21. Bennett, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00236
  22. Artis, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00237
  23. Cromartie, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00238
  24. Pearson, et al. v. Murphy-Brown, LLC, No. 5:14-cv-00663
  25. Brown, et al. v. Murphy-Brown, LLC, No. 7:14-cv-00245
  26. Atkinson, et al. v. Murphy-Brown, LLC, No. 7:15-cv-00047




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